                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

PRISCILLA PARKER, PATRICK PARKER,
BARRY AMAR-HOOVER, MATTEO
MARCHETTI, ZACHARY MILLER
CORRADINO, SAMANTHA TAYLOR
REYES, CHRISTOPHER SALOMAN, and                   Case No. 1:23-cv-20160
MICHAEL STRAUSS, Individually and on Behalf of
All Others Similarly Situated,
                               Plaintiffs,
                                                  JOINT STATUS REPORT
      v.


 REALPAGE, INC.; AMLI MANAGEMENT
COMPANY; ALLIANCE RESIDENTIAL
COMPANY; APARTMENT MANAGEMENT
CONSULTANTS, LLC; ASSET LIVING, LLC;
AVALONBAY COMMUNITIES, INC.; AVENUE5
RESIDENTIAL LLC; BELL PARTNERS, INC.; BH
MANAGEMENT SERVICES, LLC; BOZZUTO
MANAGEMENT COMPANY; THE BOZZUTO
GROUP; CAMDEN PROPERTY TRUST; CONAM
MANAGEMENT CORP.; CORTLAND
PARTNERS, LLC; CORTLAND PROPERTIES,
INC.; CUSHMAN & WAKEFIELD, INC.; EQUITY
RESIDENTIAL; ESSEX PROPERTY TRUST; FPI
MANAGEMENT, INC.; GREYSTAR REAL
ESTATE PARTNERS, LLC; HIGHMARK
RESIDENTIAL, LLC; LANTOWER LUXURY
LIVING, LLC; LINCOLN PROPERTY
COMPANY; MID-AMERICA APARTMENT
COMMUNITIES, INC.; MORGAN PROPERTIES;
PINNACLE PROPERTY MANAGEMENT
SERVICES, LLC; RPM LIVING, LLC; SECURITY
PROPERTIES, INC.; THOMA BRAVO, L.P.;
THRIVE COMMUNITIES MANAGEMENT, LLC;
UDR, INC.; WINNCOMPANIES LLC; and ZRS
MANAGEMENT, LLC.


                         Defendants.




Case 3:23-cv-00378    Document 51      Filed 04/14/23   Page 1 of 12 PageID #: 370
        Pursuant to the Court’s Orders (ECF Nos. 32 and 50), the parties jointly submit this status

report to advise the Court of the decision by the Judicial Panel on Multidistrict Litigation (the

“Panel” or “JPML”) on the motion to transfer the four cases 1 consolidated on this docket (the

“Florida Actions”) and related cases.

        On April 10, 2023, the Panel issued an order transferring twenty actions to the Middle

District of Tennessee before the Honorable Waverly D. Crenshaw, Jr., for “coordinated or

consolidated pre-trial proceedings.” In re: RealPage, Inc., Rental Software Antitrust Litigation

(No. II), MDL 3071, ECF No. 205. The Florida Actions were filed after Defendants filed their

transfer motion with the JPML, and, as such, were noticed as potential tag-along actions. In re:

RealPage, Inc., ECF Nos. 12, 157, and 191. Accordingly, the Florida Actions were not included

in the Panel’s April 10, 2023 order. On April 12, 2023, pursuant to Panel Rule 7.1, the Clerk of

the Panel entered a Conditional Transfer Order (“CTO”), transferring twelve actions, including all

four Florida Actions, to the Middle District of Tennessee. If unopposed, the Clerk of the Panel is

anticipated to transmit the transfer orders to the Middle District of Tennessee by April 19, 2023

(seven days after entry of the CTO), at which point the transfer orders will become effective. The

parties are not aware of any opposition to the CTO.

        In making this joint status report, Defendants do not waive, in this or any other action, any

(i) defenses or arguments for dismissal that may be available under Fed. R. Civ. P. 12; (ii)

affirmative defenses under Fed. R. Civ. P. 8, including defenses based on class action waivers; (iii)

other statutory or common law defenses that may be available; or (iv) right to seek or oppose any

reassignment, transfer, or consolidated alternatives, including to seek arbitration. Defendants


1
 Corradino, et al. v. RealPage, Inc., et al., No. 1:23-cv-20165 (S.D. Fla.); Marchetti v. RealPage,
Inc., et al., No. 1:23-cv-20263 (S.D. Fla.); Parker, et al. v. RealPage, Inc., et al., No. 1:23-cv-
20160 (S.D. Fla.); Saloman, et al. v. RealPage, Inc., et al., No. 1:23-cv-21038 (S.D. Fla.).


                                                 2
    Case 3:23-cv-00378      Document 51        Filed 04/14/23      Page 2 of 12 PageID #: 371
expressly reserve their rights to raise any such defenses (or any other defense) in response to either

the Complaint or any original, amended, or consolidated complaint that may be filed in this or any

other action.



Dated this 14th day of April 2023.



Presented by:

  /s/ Lindsey C. Grossman                           /s/ Michael M. Maddigan
   Lindsey C. Grossman (Fla. Bar No.                Michael M. Maddigan (pro hac vice
   105185)                                          forthcoming)
   Michael Criden (Fla. Bar No. 714356)             michael.maddigan@hoganlovells.com
   CRIDEN & LOVE, P.A.                              HOGAN LOVELLS US LLP
   7301 SW 57th Court, Suite 515                    1999 Avenue of the Stars, Suite 1400
   South Miami, Florida 33143                       Los Angeles, CA 90067
   Telephone: (305) 357-9000                        Telephone: (310) 785-4727
   Facsimile: (305) 357-9050
   lgrossman@cridenlove.com                         William L. Monts, III (pro hac vice
   mcriden@cridenlove.com                           forthcoming)
                                                    william.monts@hoganlovells.com
   Local Counsel for Plaintiffs Priscilla           Benjamin F. Holt (pro hac vice forthcoming)
   Parker, Patrick Parker, Barry Amar-              benjamin.holt@hoganlovells.com
   Hoover, Zachary Miller Corradino, and            HOGAN LOVELLS US LLP
   Samantha Taylor Reyes                            555 Thirteenth Street, NW
                                                    Washington, DC 20004
   David R. Scott (pro hac vice)                    Telephone: (202) 637-6440
   Patrick McGahan (pro hac vice)
   Michael Srodoski (pro hac vice)                  Counsel for Defendant Greystar Real Estate
   G. Dustin Foster (pro hac vice)                  Partners, LLC
   SCOTT+SCOTT ATTORNEYS AT
   LAW LLP                                          /s/ Joseph M. Kay
   156 South Main Street                            Joseph M. Kay (pro hac vice forthcoming)
   P.O. Box 192                                     jkay@cgsh.com
   Colchester, CT 06145                             CLEARY GOTTLIEB STEEN & HAMILTON LLP
   Telephone: (860) 537-5537                        One Liberty Plaza
   Facsimile: (860) 537-4432                        New York, NY 10006
   david.scott@scott-scott.com                      Telephone: (212) 225-2745
   pmcgahan@scott-scott.com
   msrodoski@scott-scott.com                        Counsel for Defendant Pinnacle Property
   gfoster@scott-scott.com                          Management Services, LLC



                                                 3
 Case 3:23-cv-00378         Document 51        Filed 04/14/23       Page 3 of 12 PageID #: 372
                                                  /s/ David A. Walton
 Thomas J. Undlin (pro hac vice                   David A. Walton (pro hac vice forthcoming)
 forthcoming)                                     dwalton@bellnunnally.com
 Stacey Slaughter (pro hac vice)                  Troy Lee (T.J.) Hales
 Geoffrey H. Kozen (pro hac vice)                 thales@bellnunnally.com
 J. Austin Hurt (pro hac vice forthcoming)        BELL NUNNALLY & MARTIN, LLP
 ROBINS KAPLAN LLP                                2323 Ross Avenue, Suite 1900
 800 LaSalle Avenue, Suite 2800                   Dallas, TX 75201
 Minneapolis, MN 55402
 Telephone: (612) 349-8500                        Counsel for Defendant RPM Living, LLC.
 Facsimile: (612) 339-4181
 tundlin@robinskaplan.com                         /s/ Belinda S Lee
 sslaughter@robinskaplan.com                      Belinda S Lee (pro hac vice forthcoming)
 gkozen@robinskaplan.com                          belinda.lee@lw.com
 ahurt@robinskaplan.com                           LATHAM & WATKINS LLP
                                                  505 Montgomery Street, Suite 2000
 Vincent Briganti (pro hac vice)                  San Francisco, CA 94111
 Christian P. Levis (pro hac vice)                Telephone: (415) 391-0600
 Peter Demato (pro hac vice)
 Radhika Gupta (pro hac vice)                     E. Marcellus Williamson (pro hac vice
 LOWEY DANNENBERG, P.C.                           forthcoming)
 44 South Broadway, Suite 1100                    marc.williamson@lw.com
 White Plains, NY 10601                           LATHAM & WATKINS LLP
 Tel.: (914) 997-0500                             555 Eleventh Street, NW, Suite 1000
 Fax: (914) 997-0035                              Washington DC, 20004
 vbriganti@lowey.com                              Telephone: (202) 637-2200
 clevis@lowey.com
 pdemato@lowey.com                                Counsel for Defendant AvalonBay
 rgupta@lowey.com                                 Communities, Inc.

 Additional Counsel for Plaintiffs Priscilla      /s/ Charles H. Samel
 Parker, Patrick Parker, and Barry Amar-          Charles H. Samel (pro hac vice forthcoming)
 Hoover                                           Charles.samel@stoel.com
                                                  Edward C. Duckers (pro hac vice
 /s/ Benjamin J. Widlanski                        forthcoming)
 Benjamin J. Widlanski                            Ed.duckers@stoel.com
 Fla. Bar No. 1010644                             STOEL RIVES LLP
 bwidlanski@kttlaw.com                            1 Montgomery Street, Suite 3230
 Javier A. Lopez                                  San Francisco, CA 94104
 Fla. Bar No. 16727                               Telephone: (415) 617-8900
 jal@kttlaw.com
 KOZYAK TROPIN &                                  George A. Guthrie (pro hac vice forthcoming)
 THROCKMORTON LLP                                 gguthrie@wilkefleury.com
 2525 Ponce de Leon Blvd., 9th Floor              WILKE FLEURY LLP
 Coral Gables, Florida 33134                      621 Capitol Mall, Suite 900
 Telephone: (305) 372-1800                        Sacramento, CA 95814
                                                  Telephone: (916) 441-2430


                                                 4
Case 3:23-cv-00378       Document 51           Filed 04/14/23   Page 4 of 12 PageID #: 373
 /s/ Archie Lamb Jr.                          Counsel for Defendant FPI Management, Inc.
 Archie C. Lamb, Jr., Esq.
 Fla. Bar No. 742597                          /s/ Ian Simmons
 alamb@archielamb.com                         Ian Simmons (pro hac vice forthcoming)
 ARCHIE LAMB & ASSOCIATES                     isimmons@omm.com
 Attorney at Law                              O’MELVENY & MYERS LLP
 2625 McCormick Dr #102,                      1625 Eye Street, NW
 Clearwater, FL 33759                         Washington, DC 20006
 Tel: 205-612-6789                            Telephone: (202) 383-5106

 Local Counsel for Plaintiff Matteo           Stephen McIntyre (pro hac vice forthcoming)
 Marchetti                                    smcintyre@omm.com
                                              O’MELVENY & MYERS LLP
 /s/ Joseph R. Saveri                         400 South Hope Street, 18th Floor
 Joseph R. Saveri                             Los Angeles, CA 90071
 JOSEPH SAVERI LAW FIRM, LLP                  Telephone: (213) 430-6000
 Joseph R. Saveri (Cal. Bar No. 130064)
 (pro hac vice forthcoming)                   Counsel for Defendant BH Management
 Steven N. Williams (Cal. Bar                 Services, LLC
 No.175489) (pro hac vice
 forthcoming)                                 /s/ David D. Cross
 Cadio Zirpoli (Cal. Bar No.179108) (pro      David D. Cross (pro hac vice forthcoming)
 hac vice forthcoming)                        dcross@mofo.com
 Kevin E. Rayhill (Cal. Bar No.267496)        Jeffrey A. Jaeckel (pro hac vice forthcoming)
 (pro hac vice forthcoming)                   jjaeckel@mofo.com
 601 California Street, Suite 1000            Robert W. Manoso (pro hac vice
 San Francisco, CA 94108                      forthcoming)
 Telephone: (415) 500-6800                    rmanoso@mofo.com
 Fax: (415) 395-9940                          Sonja Swanbeck (pro hac vice forthcoming)
 Email: jsaveri@saverilawfirm.com             sswanbeck@mofo.com
 jsaveri@saverilawfirm.com                    MORRISON & FOERSTER LLP
 swilliams@saverilawfirm.com                  2100 L Street, NW, Suite 900
 czirpoli@saverilawfirm.com                   Washington, D.C., 20037
 krayhill@saverilawfirm.com                   Telephone: (202) 887-1500

 Additional Counsel for Plaintiff Matteo      Counsel for Defendant UDR, Inc.
 Marchetti
                                              /s/ James D. Bragdon
 Jeffrey B. Kaplan, Esq. (Fla. Bar No.        James D. Bragdon
 39977)                                       GALLAGHER EVELIUS & JONES LLP
 Maria V. Ceballos, Esq. (Fla. Bar No.        218 N. Charles St., Suite 400
 1038726)                                     Baltimore, MD 21201
 DIMOND KAPLAN & ROTHSTEIN,                   Telephone: (410) 727-7702
 P.A.                                         jbragdon@gejlaw.com
 2665 South Bayshore Drive, PH-2B



                                             5
Case 3:23-cv-00378      Document 51        Filed 04/14/23    Page 5 of 12 PageID #: 374
 Miami, Florida 33133                    Counsel for Defendant Bozzuto Management
 Telephone: (305) 374-1920               Company
 Jkaplan@dkrpa.com
 Vceballos@dkrpa.com                     /s/ Lawrence Silverman
                                         Lawrence D. Silverman (Fla. Bar No. 7160)
 Counsel for Plaintiffs Christopher      Lawrence.silverman@sidley.com
 Saloman and Michael Strauss             SIDLEY AUSTIN LLP
                                         1001 Brickell Bay Dr. Ste 900
                                         Miami, FL 33131-4937
                                         Telephone: (305) 391-5204

                                         /s/ Benjamin R. Nagin
                                         Benjamin R. Nagin (pro hac vice
                                         forthcoming)
                                         SIDLEY AUSTIN LLP
                                         787 Seventh Avenue
                                         New York, NY 10019
                                         Telephone: (212) 839-5300
                                         bnagin@sidley.com

                                         Counsel for Defendant ConAm Management
                                         Corporation

                                         /s/ Stephen Weissman
                                         Stephen Weissman (pro hac vice
                                         forthcoming)
                                         sweissman@gibsondunn.com
                                         Michael J. Perry (pro hac vice forthcoming)
                                         mjperry@gibsondunn.com
                                         GIBSON, DUNN & CRUTCHER LLP
                                         1050 Connecticut Avenue, NW
                                         Washington, DC 20036
                                         Telephone: (202) 955-8678

                                         Daniel G. Swanson (pro hac vice
                                         forthcoming)
                                         dswanson@gibsondunn.com
                                         Jay Srinivasan (pro hac vice forthcoming)
                                         jsrinivasan@gibsondunn.com
                                         GIBSON, DUNN & CRUTCHER LLP
                                         333 South Grand Avenue
                                         Los Angeles, CA 90071
                                         Telephone: (213) 229-7430

                                         Stephen C. Whittaker (pro hac vice
                                         forthcoming)



                                        6
Case 3:23-cv-00378      Document 51   Filed 04/14/23   Page 6 of 12 PageID #: 375
                                      cwhittaker@gibsondunn.com
                                      GIBSON, DUNN & CRUTCHER LLP
                                      1361 Michelson Drive
                                      Irvine, CA 92612
                                      Telephone: (212) 351-2671

                                      Ben A. Sherwood (application for admission
                                      forthcoming)
                                      bsherwood@gibsondunn.com
                                      GIBSON, DUNN & CRUTCHER LLP
                                      200 Park Avenue
                                      New York, NY 10166
                                      Telephone: (212) 351-2671

                                      Counsel for Defendant RealPage, Inc.

                                      /s/ Robert S. Galbo
                                      Robert S. Galbo (FL Bar No. 106937)
                                      galbor@gtlaw.com
                                      GREENBERG TRAURIG, P.A.
                                      333 SE 2nd Ave., Suite 4400
                                      Miami, FL 33131
                                      Telephone: (305) 579-0500

                                      /s/ Gregory J. Casas
                                      Gregory J. Casas (pro hac vice forthcoming)
                                      casasg@gtlaw.com
                                      GREENBERG TRAURIG, LLP
                                      300 West 6th Street, Suite 2050
                                      Austin, TX 78701-4052
                                      Telephone: (512) 320-7200

                                      Robert J. Herrington (pro hac vice
                                      forthcoming)
                                      HerringtonR@gtlaw.com
                                      GREENBERG TRAURIG, LLP
                                      1840 Century Park East, Suite 1900
                                      Los Angeles, CA 90067
                                      Telephone: (310) 586-7700

                                      Becky L. Caruso (pro hac vice forthcoming)
                                      Becky.caruso@gtlaw.com
                                      GREENBERG TRAURIG, LLP
                                      500 Campus Drive, Suite 400
                                      Florham Park, NJ 07932
                                      Telephone: (973) 443-3252



                                     7
Case 3:23-cv-00378   Document 51   Filed 04/14/23   Page 7 of 12 PageID #: 376
                                      Counsel for Defendant Lincoln Property Co.

                                      /s/ Britt M. Miller
                                      Britt M. Miller (pro hac vice forthcoming)
                                      bmiller@mayerbrown.com
                                      Daniel T. Fenske (pro hac vice forthcoming)
                                      dfenske@mayerbrown.com
                                      MAYER BROWN LLP
                                      71 South Wacker Drive
                                      Chicago, IL 60606
                                      Telephone: (312) 782-0600

                                      Counsel for Defendant Mid-America
                                      Apartment Communities, Inc.

                                      Rachel Tallon Reynolds (pro hac vice
                                      forthcoming)
                                      Rachel.Reynolds@lewisbrisbois.com
                                      LEWIS BRISBOIS BISGAARD & SMITH LLP
                                      1111 Third Avenue, Suite 2700
                                      Seattle, WA 98101
                                      Telephone: (206) 436-2020

                                      Counsel for Defendant Cortland Partners,
                                      LLC.

                                      /s/ Lynn H. Murray
                                      Lynn H. Murray (pro hac vice forthcoming)
                                      lhmurray@shb.com
                                      Maveric Ray Searle (pro hac vice
                                      forthcoming)
                                      msearle@shb.com
                                      SHOOK, HARDY & BACON L.L.P.
                                      111 S. Wacker Dr., Suite 4700
                                      Chicago, IL 60606
                                      Telephone: (312) 704-7700

                                      Ryan Sandrock (pro hac vice forthcoming)
                                      rsandrock@shb.com
                                      SHOOK, HARDY & BACON L.L.P.
                                      555 Mission Street, Suite 2300
                                      San Francisco, CA 94105
                                      Telephone: (415) 544-1900

                                      Laurie A. Novion (pro hac vice forthcoming)



                                     8
Case 3:23-cv-00378   Document 51   Filed 04/14/23   Page 8 of 12 PageID #: 377
                                      lnovion@shb.com
                                      SHOOK, HARDY & BACON L.L.P.
                                      2555 Grand Blvd.
                                      Kansas City, MO 64108
                                      Telephone: (816) 474-6550

                                      Hunter Ahern (pro hac vice forthcoming)
                                      hahern@shb.com
                                      SHOOK, HARDY & BACON L.L.P.
                                      701 Fifth Ave., Suite 6800
                                      Seattle, WA 98104
                                      Telephone: (206) 344-7600

                                      Counsel for Defendant Camden Property
                                      Trust

                                      /s/ Marguerite Willis
                                      Marguerite Willis (SBN: 188950)
                                      mwillis@nexsenpruet.com
                                      NEXSEN PRUET, LLC
                                      104 South Main Street
                                      Greenville, SC 29601
                                      Telephone: (864) 370-2211

                                      Travis C. Wheeler (pro hac vice forthcoming)
                                      twheeler@nexsenpruet.com
                                      Mark C. Moore (pro hac vice forthcoming)
                                      mmoore@nexsenpruet.com
                                      Michael A. Parente (pro hac vice
                                      forthcoming)
                                      mparente@nexsenpruet.com
                                      NEXSEN PRUET, LLC
                                      1230 Main Street, Suite 700
                                      Columbia, SC 29201
                                      Telephone: (803) 771-8900

                                      Michael Oritz (pro hac vice forthcoming)
                                      moritz@oritzdoyle.com
                                      ORITZ & DOYLE PLLC
                                      2840 Plaza Place, Suite 300
                                      Raleigh, NC 27612
                                      Telephone: (919) 781-7400

                                      Counsel for Defendant Bell Partners, Inc.

                                      /s/ Michael D. Bonanno



                                     9
Case 3:23-cv-00378   Document 51   Filed 04/14/23   Page 9 of 12 PageID #: 378
                                       Michael D. Bonanno (pro hac vice
                                       forthcoming)
                                       mikebonanno@quinnemanuel.com
                                       QUINN EMANUEL URQUHART & SULLIVAN
                                       LLP
                                       1300 I St. NW, Suite 900
                                       Washington, DC 20005
                                       Telephone: (202) 538-8225

                                       Christopher Daniel Kercher (pro hac vice
                                       forthcoming)
                                       christopherkercher@quinnemanuel.com
                                       QUINN EMANUEL URQUHART & SULLIVAN
                                       LLP
                                       51 Madison Avenue, 22nd Floor,
                                       New York, New York 10010
                                       Telephone: (212) 849-7000

                                       Counsel for Defendant Highmark Residential,
                                       LLC

                                       /s/ Richard B. Brosnick
                                       Richard B. Brosnick (pro hac vice
                                       forthcoming)
                                       richard.brosnick@akerman.com
                                       AKERMAN LLP
                                       1251 Avenue of the Americas, 37th Floor
                                       New York, New York 10020
                                       Telephone: (212) 880-3800

                                       Ryan Krone (pro hac vice forthcoming)
                                       ryan.krone@akerman.com
                                       AKERMAN LLP
                                       1300 Post Oak Boulevard, Suite 2300
                                       Houston, TX 77056
                                       Telephone: (713) 623-0887

                                       Eric Goldberg (pro hac vice forthcoming)
                                       eric.goldberg@akerman.com
                                       AKERMAN LLP
                                       750 Ninth Street, N.W., Suite 750
                                       Washington, D.C., 20001
                                       Telephone: (202) 393-6222

                                       Counsel for Defendant ZRS Management,
                                       LLC



                                      10
Case 3:23-cv-00378   Document 51   Filed 04/14/23   Page 10 of 12 PageID #: 379
                                       /s/ Michael W. Scarborough
                                       Michael W. Scarborough (pro hac vice
                                       forthcoming)
                                       mscarborough@velaw.com
                                       Dylan I. Ballard (pro hac vice forthcoming)
                                       dballard@velaw.com
                                       VINSON & ELKINS LLP
                                       555 Mission Street, Suite 2000
                                       San Francisco, CA 94105
                                       Telephone: (415) 979-6900

                                       Counsel for Defendant Lantower Luxury
                                       Living LLC

                                       /s/ Leo D. Caseria
                                       Leo D. Caseria (pro hac vice forthcoming)
                                       lcaseria@sheppardmullin.com
                                       Helen C. Eckert (pro hac vice forthcoming)
                                       heckert@sheppardmullin.com
                                       SHEPPARD MULLIN RICHTER & HAMPTON LLP
                                       2099 Pennsylvania Avenue, NW, Suite 100
                                       Washington, DC, 20006
                                       Telephone: (202) 747-1925

                                       /s/ Arman Oruc
                                       Arman Oruc (pro hac vice forthcoming)
                                       aoruc@goodwinlaw.com
                                       GOODWIN PROCTER, LLP
                                       1900 N Street, NW
                                       Washington, DC 20036
                                       Telephone: (202) 346-4000

                                       Counsel for Defendant Essex Property Trust,
                                       Inc.

                                       /s/ David Kully
                                       David Kully (pro hac vice forthcoming)
                                       HOLLAND & KNIGHT LLP
                                       800 17th Street N.W., Suite 1100
                                       Washington, D.C. 20006
                                       Telephone: (202) 469-5415

                                       Counsel for Defendant AMLI Management
                                       Company




                                      11
Case 3:23-cv-00378   Document 51   Filed 04/14/23    Page 11 of 12 PageID #: 380
                               CERTIFICATE OF SERVICE

       I hereby certify that on April 14, 2023, I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to

those attorneys of record registered on the CM/ECF system. All other parties (if any) shall be

served in accordance with the Federal Rules of Civil Procedure.

       DATED this 14th day of April, 2023.



                                            /s/ Lindsey C. Grossman




                                                12
Case 3:23-cv-00378        Document 51        Filed 04/14/23       Page 12 of 12 PageID #: 381
